               Case 4:20-cv-00981-YGR Document 11 Filed 03/17/20 Page 1 of 4




 1 MARK R. CONRAD (CA Bar No. 255667)
   COURTNEY C. AASEN (CA Bar No. 307404)
 2 CONRAD & METLITZKY LLP
   Four Embarcadero Center, Suite 1400
 3 San Francisco, CA 94111
   Tel: (415) 343-7100
 4 Fax: (415) 343-7101
   Email: mconrad@conradmetlitzky.com
 5 Email: caasen@conradmetlitzky.com

 6 Attorneys for Defendant National Basketball
   Association
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11

12   ALAN STRICKLAND, an individual; and         CASE NO. 4:20-CV-00981-YGR
     KELLY STRICKLAND, an individual,
13
             Plaintiffs,                         STIPULATION EXTENDING DEFENDANTS’
14                                               DEADLINE TO RESPOND TO THE
        v.                                       COMPLAINT
15
     MASAI UJIRI, an individual; TORONTO
16   RAPTORS, a business entity; MAPLE LEAF
     SPORTS & ENTERTAINMENT, a business
17   entity; NATIONAL BASKETBALL
     ASSOCIATION, INC.; and DOES 1 through
18   100, inclusive,
19           Defendants.
20

21

22

23

24

25

26

27

28

     CASE NO. 4:20-CV-00981-YGR                           STIPULATION EXTENDING DEADLINE TO RESPOND
              Case 4:20-cv-00981-YGR Document 11 Filed 03/17/20 Page 2 of 4




 1          WHEREAS, Plaintiffs in the above-captioned matter filed a Complaint with this Court on

 2 February 7, 2020;

 3          WHEREAS, Plaintiffs served a Summons on Defendants Masai Ujiri, the Toronto Raptors, and

 4 Maple Leaf Sports & Entertainment on February 26, 2020;

 5          WHEREAS, Defendants Masai Ujiri, the Toronto Raptors, and Maple Leaf Sports &

 6 Entertainment’s deadline to respond to the Complaint is March 18, 2020;

 7          WHEREAS, Plaintiffs served a Summons on Defendant National Basketball Association,

 8 erroneously sued as National Baksetball Association, Inc., on February 27, 2020;
 9          WHEREAS, the National Baksetball Association’s deadline to respond to the Complaint is

10 March 19, 2020;

11          WHEREAS, the parties agree to stipulate to an extension of all Defendants’ deadline to respond

12 to the Complaint until and including April 2, 2020;

13          WHEREAS, the stipulation to extend Defendants’ deadline to respond to the Complaint will not

14 alter the date of any event or any deadline already fixed by Court order;

15          NOW, THEREFORE, IT IS HEREBY STIPULATED by the parties that, pursuant to Civil L.R.

16 6-1(a), Defendants’ deadline to respond to the Complaint is extended until April 2, 2020.

17

18   Date: March 17, 2020                                CONRAD & METLITZKY LLP

19
                                                         /s/ Mark R. Conrad
20                                                       MARK R. CONRAD
                                                         COURTNEY C. AASEN
21                                                       Attorneys for Defendant National Basketball
22                                                       Association

23
     Date: March 17, 2019                                MASTAGNI HOLSTEDT, A.P.C.
24

25
                                                         /s/ Brett D. Beyler
26                                                       DAVID P. MASTAGNI
                                                         GRANT A. WINTER
27                                                       BRETT D. BEYLER
                                                         Attorneys for Plaintiffs
28
                                                      -1-
     CASE NO. 4:20-CV-00981-YGR                                    STIPULATION EXTENDING DEADLINE TO RESPOND
             Case 4:20-cv-00981-YGR Document 11 Filed 03/17/20 Page 3 of 4




 1   Date: March 17, 2019                     COTCHETT PITRE & MCCARTHY LLP
 2

 3                                            /s/ Emanuel B. Townsend
                                              JOSEPH COTCHETT
 4                                            EMANUEL B. TOWNSEND
                                              TAMARAH PREVOST
 5                                            Attorneys for Defendants Masai Ujiri, the Toronto
 6                                            Raptors, and Maple Leaf Sports & Entertainment

 7

 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                            -2-
     CASE NO. 4:20-CV-00981-YGR                         STIPULATION EXTENDING DEADLINE TO RESPOND
              Case 4:20-cv-00981-YGR Document 11 Filed 03/17/20 Page 4 of 4




                                              ATTESTATION
 1

 2          I, Mark R. Conrad, am the ECF user whose identification and password are being used to file this
 3 document. I hereby attest that the concurrence to the filing of this document has been obtained from

 4 each signatory hereto.

 5
                                                        /s/ Mark R. Conrad
 6
                                                        MARK R. CONRAD
 7                                                      Counsel for Defendant National Basketball
                                                        Association
 8
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                      -3-
     CASE NO. 4:20-CV-00981-YGR                                    STIPULATION EXTENDING DEADLINE TO RESPOND
